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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION


RANADA COOKS,

      Plaintiff,
                                             Case No.: 3:21-CF-776

vs.

ANDREA MINYARD; GULF COAST
AUTOPSY PHYSICIANS, P.A.; TIMOTHY
J. GALLAGHER; CORPORAL THOMAS
PASCHAL; TROOPER CHAD LYNCH;
SERGEANT RANDLE PADGETT; FAITH
CHAPEL FUNERAL SERVICES, LLC; AND
TRACY MORTON MEMORIAL CHAPEL, LLC,

      Defendants.
                                             /

                    DEFENDANTS’ NOTICE OF REMOVAL

      Defendants CORPORAL THOMAS PASCHAL, TROOPER CHAD

LYNCH, and SERGEANT RANDLE PADGETT (hereinafter referred to

collectively as “Defendants”), by and through undersigned counsel, pursuant to 28

U.S.C. §§ 1441, 1443, 1446 and 1343, and N.D. Fla. Loc. R. 7.2, file this Notice of

Removal of an action pending in the First Judicial Circuit Court of Florida, Escambia

County, to the U.S. District Court, Northern District of Florida, Pensacola Division,

and in support thereof state the following grounds:
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         1.    Plaintiff’s daughter, Samara Cooks, was killed in a single-car motor

vehicle accident on July 29, 2019. See [ECF No. 1-1 (First Amended Complaint at

¶ 14].

         2.    Plaintiff alleges that Samara’s body was misidentified following the

accident, and filed suit against several defendants. [Id.].

         3.    Defendants were all employed by the Florida Highway Patrol, and

Plaintiff alleges their actions contributed to the misidentification of the body of their

daughter. [Id. at ¶¶ 18-25].

         4.    Defendants desire to exercise their rights under the provisions of 28

U.S.C. §1331, et seq., to remove this action from the First Judicial Circuit of Florida,

Escambia County, where it is now pending under the name and style of: Ranada

Cooks, Plaintiff, v. Andrea Minyard; Gulf Coast Autopsy Physicians, PA; Timothy

J. Gallagher; Corporal Paschal; Trooper Chad Lynch; Sergeant Randle Padgett;

Faith Chapel Funeral Services, LLC; and Tracy Morton Memorial Chapel, LLC,

Defendants.

         5.    Plaintiff initiated this lawsuit by filing a Complaint in the First Judicial

Circuit Court on March 5, 2020, at which time Defendants were not named as party-

defendants.

         6.    Plaintiff was granted leave to file an Amended Complaint, in which

Defendants were added as party-defendants for the first time.


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      7.     The court granted Plaintiff leave to amend by order dated April 27,

2021, and the Amended Complaint was deemed filed and contains the following

counts against Defendants based on federal law:

      Fourth Cause of Action:           Violation of the 14th Amendment, 42 U.S.C.
                                        § 1983, against Defendant Lynch

      Fifth Cause of Action:            Violation of the 14th Amendment, 42 U.S.C.
                                        § 1983, against Defendant Paschal

      Sixth Cause of Action:            Violation of the 14th Amendment, 42 U.S.C.
                                        § 1983, against Defendant Padgett

[ECF 1-1 at ¶¶ 89-116].

      8.     This Court has federal question jurisdiction over Plaintiff’s § 1983

claims against Defendants, since they have been brought under federal law.

      9.     Pursuant to 28 U.S.C. § 1446(a), a copy of the Amended Complaint is

attached to this Notice of Removal as [ECF No. 1-1]. Pursuant to N.D. Fla. Loc. R.

7.2, Defendants will file copies all other process, pleadings, and orders on file in the

circuit court action within 14 days of this Notice.

      10.    On behalf of and with the authority of Defendants, the undersigned

accepted service of the Amended Complaint on or about April 26, 2021. In

accordance with the requirements of 28 U.S.C. §1446(b)(2)(B), this Notice of

Removal is filed within 30 days after Defendants’ receipt of the initial pleading

against them through service of the Amended Complaint.




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      11.    Venue in this District and Division is proper for purposes of removal

under 28 U.S.C. § 1441(a), because this District and Division embrace the place in

which the removed action was filed and is pending – Escambia County, Florida.

      12.    Pursuant to 28 U.S.C. § 1446(d), written and electronic notice of filing

of this Notice of Removal has been served upon Plaintiff’s counsel, Arthur A.

Shimek, Arthur A. Shimek, P.A.

      13.    A true copy of this Notice of Removal will also be filed with the Clerk

of the First Judicial Circuit of Florida, Escambia County, as required by law. Id.

                 Removal Based on Federal Question Jurisdiction

      14.    Unless specifically prohibited by an act of Congress, “any civil action

brought in a State court of which the district courts of the United States have original

jurisdiction, may be removed by the defendant or the defendants, to the district court

of the United States for the district and division embracing the place where such

action is pending.” 28 U.S.C. § 1441(a). This Court possesses supplemental

jurisdiction over this civil action because some of Plaintiff’s claims are brought

under federal law and thus involve federal questions under 28 U.S.C. §1331. More

specifically, Plaintiff’s Complaint alleges Defendants violated her rights under the

Fourteenth Amendment to the Constitution of the United States.

      15.    Defendants Andrea Minyard (“Minyard”), Faith Chapel Funeral

Services, LLC (“Faith Chapel”); and Tracy Morton Memorial Chapel, LLC (“Tracy


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Morton”) were already party-defendants when the Amended Complaint was deemed

filed on April 27, 2021, and each were served the Amended Complaint through the

Florida Court’s E-Filing Portal.

      16.    The undersigned certifies he conferred with counsel for Defendant

Minyard, who consents to the removal of this action.

      17.    The undersigned certifies he conferred with counsel for Defendant

Faith Chapel, who consents to the removal of this action.

      18.    The undersigned certifies he conferred with counsel for Defendant

Tracy Morton, who consents to the removal of this action.

      19.    By filing the Amended Complaint, Plaintiff added Defendants Gulf

Coast Autopsy Physicians, P.A., (“Gulf Coast”) and Timothy Gallagher

(“Gallagher”) as new party-defendants.

      20.    The undersigned certifies he conferred with counsel for Defendant Gulf

Coast, who consents to the removal of this action.

      21.    The undersigned certifies he conferred with Defendant Gallagher, who

consents to the removal of this action.

      22.    Because the requirements for removal are satisfied, this Court should

accept jurisdiction.

      WHEREFORE, Defendants Paschal, Lynch, and Padgett respectfully request

that this action be removed to this Court and that this Court accept jurisdiction of


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this action, and henceforth that this action be placed on the docket of this Court for

further proceedings, the same as though this action had been originally instituted in

this Court.

      Respectfully submitted, this 17th day of May 2021.

                                              /s/ Elmer C. Ignacio
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                                              Attorneys for Defendant Paschal,
                                              Lynch, and Padgett




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                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing has been

furnished electronically through the court’s CM/ECF system to counsel of record on

this 17th day of May 2021.

                                            /s/ Elmer C. Ignacio
                                            ELMER C. IGNACIO




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